Case 5:16-cv-10444-JEL-MKM ECF No. 1401, PageID.54473 Filed 01/21/21 Page 1 of 2




                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


  In re Flint Water Cases.               Judith E. Levy
                                         United States District Judge
  ________________________________/

  This Order Relates To:

  ALL CASES

  ________________________________/

      ORDER GRANTING PRELIMINARY APPROVAL TO THE
        ARCHER SYSTEMS, LLC CLAIMS, QSF, AND LIEN
      RESOLUTION ADMINISTRATOR FEE SCHEDULE [1394]


       In an Opinion and Order issued on this date, the Court appointed

 Archer    Systems,    LLC    as   Claims,   QSF,    and   Lien   Resolution

 Administrator for purposes of the preliminary settlement and conditional

 class certification. The Court has separately reviewed Archer Systems,

 LLC’s proposed fee schedule, which was newly filed as Exhibit K to

 Plaintiffs’ amended motion to establish settlement claims procedures and

 for preliminary approval of class settlement components. (ECF No. 1394-

 16.) The Court preliminarily approves this fee schedule, pending any

 adjustments made as necessary as more information becomes available.
Case 5:16-cv-10444-JEL-MKM ECF No. 1401, PageID.54474 Filed 01/21/21 Page 2 of 2




 IT IS SO ORDERED.

 Dated: January 21, 2021             s/Judith E. Levy
 Ann Arbor, Michigan                 JUDITH E. LEVY
                                     United States District Judge


                       CERTIFICATE OF SERVICE
       The undersigned certifies that the foregoing document was served
 upon counsel of record and any unrepresented parties via the Court’s
 ECF System to their respective email or First Class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on January 21, 2021.
                                          s/William Barkholz
                                          WILLIAM BARKHOLZ
                                          Case Manager
